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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

____________________________________
Kurdistan Victims Fund, et al.,        )
                                       )
              Plaintiffs,              )
                                       )
       v.                              )
                                       )                 Civil Action No. 1:24-cv-00278-RDM
                                       )                 Judge Randolph Moss
Kurdistan Regional Government, et al., )
                                       )
              Defendants.              )
____________________________________)

                                      [PROPOSED] ORDER

        Upon consideration of Defendant Treefa Aziz’s Opposition to Plaintiffs’ Motion for

Leave to Effect Alternative Service of Defendants, it is hereby

        ORDERED that Plaintiffs’ Motion for Leave to Effect Alternative Service of Defendants

(Dkt. 50) is DENIED; and it is further

        ORDERED that service shall be made on all defendants within 60 days following entry

of this Order; and it is further

        ORDERED that Plaintiffs shall file a comprehensive status report detailing their service

efforts and service status as to each individual defendant by no later than seven days after the

service deadline; and it is further

        ORDERED that claims against any defendant not served as prescribed by law by such

service deadline shall be dismissed; and it is further

        ORDERED that Plaintiffs’ counsel shall pay Defendant Aziz costs and attorney fees

expended in responding to Plaintiffs’ Motion for Leave to Effect Alternative Service of

Defendants.
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Dated: October ____, 2024            IT IS SO ORDERED,

                                     _______________________
                                     Hon. Randolph D. Moss
                                     United States District Judge




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